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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
             Plaintiff,                   )
                                          )
      v.                                  )          No. 4:18 CR 893 RWS-2
                                          )
JASON DANIEL FREEMAN,                     )
                                          )
             Defendant.                   )

                           MEMORANDUM AND ORDER

      The Court referred this matter to United States Magistrate Judge Patricia L.

Cohen for a report and recommendation on pending motions pursuant to 28 U.S.C.

§ 636(b). On September 2, 2021, Judge Cohen filed her Report and

Recommendation that defendant’s motions to suppress [166 and 201] should be

denied as meritless. [244].

      Defendant objects to the Report and Recommendation [251], raising largely

the raising the same arguments made in front of Judge Cohen. This Court has

conducted a de novo review of all matters relative to defendant’s motion and

objections, including a review of the transcript of the evidentiary hearing held in

person, at defendant’s insistence, on April 13, 2021. [218]. After careful

consideration, I will adopt and sustain Judge Cohen’s thorough 32-page Report and

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Recommendation and deny the motions to suppress for the reasons set out in the

Report and Recommendation.

      Although defendant disagrees with Judge Cohen’s conclusions, I find that

Judge Cohen correctly stated the relevant law and properly applied it to the facts of

this case. To the extent defendant argues that Judge Cohen misconstrued or

mischaracterized facts or arguments with respect to the suppression issues, the

Court concludes that Judge Cohen correctly analyzed the issues presented by

defendant in his motions. Defendant did not identify with particularity (as

required) any statement made to Lincoln County police officers with respect to the

February 2016 circumstances that he was trying to suppress, and he admitted at the

April 13, 2021 hearing that no statement existed with respect to the October 2016

circumstances. Finally, defendant argues – without supporting evidence -- that

relevant drug evidence seized from Moutier Avenue has been destroyed. If true,

defendant may raise this argument during trial at the appropriate time but this

allegation, standing alone, does not entitle defendant to relief on his motions to

suppress at this time.

      Accordingly,

      IT IS HEREBY ORDERED that the Report and Recommendation filed on

September 2, 2021 [244] is adopted and sustained in its entirety.

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      IT IS FURTHER ORDERED that defendant’s objections to the Report and

Recommendation [251] are overruled.

      IT IS FURTHER ORDERED that defendant’s Alden Street motion to

suppress [166] is denied without prejudice as moot to the extent it was directed to

the initial indictment and denied as meritless with respect to the superseding

indictment.

      IT IS FURTHER ORDERED that defendant’s Moutier Avenue motion to

suppress [201] is denied.



                                __________________________________
                                RODNEY W. SIPPEL
                                UNITED STATES DISTRICT JUDGE


Dated this 12th day of October, 2021.




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